                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 LOUIE GOHMERT, TYLER BOWYER, NANCY
 COTTLE, JAKE HOFFMAN, ANTHONY KERN,
 JAMES R. LAMON, SAM MOORHEAD, ROBERT
                                                          Civil Action No. 6:20-cv-00660-JDK
 MONTGOMERY, LORAINE PELLEGRINO, GREG
 SAFSTEN, KELLI WARD and MICHAEL WARD,
        Plaintiffs,
        v.
 THE HONORABLE MICHAEL R. PENCE, VICE
 PRESIDENT OF THE UNITED STATES, in his
 official capacity,
        Defendant.

           PLAINTIFFS' MOTION TO SHORTEN TIME FOR RESPONSE TO
              PLAINTIFF'S EMERGENCY MOTION FOR EXPEDITED
         DECLARATORY JUDGMENT AND EMERGENCY INJUNCTIVE RELIEF
              AND REQUEST FOR EXPEDITED SCHEDULING ORDER

       Plaintiffs U.S. Representative Louie Gohmett Jr. (TX-1), Tyler Bowyer, Nancy Cottle,

Jake Hoffman, Anthony Kern, James R. Lamon, Sam Moorhead, Robert Montgomety, Loraine

Pellegrino, Greg Safsten, Kelli Ward, and Michael Ward, by and through their undersigned

counsel, file this Motion to Shott en Time for Response to Plaintiffs Emergency Motion for

Expedited Declaratory Judgment and Emergency       I~unctive   Relief and Request for Expedited

Scheduling Order, pursuant to Local Rule CV-7(e). In support of this Motion, Plaintiffs would

show the following:

                         Reasons For Requesting Expedited Bl'iefing

       As set forth in in the Complaint and Plaintiff's Emergency Motion for Expedited

Declaratoty Judgment and Emergency Injunctive ("Plaintiff's Motion"), Plaintiffs seek an

expedited declaratory judgment declaring that Sections 5 and I 5 of the Electoral Count Act, 3

U.S.C. §§ 5 and 15, are unconstitutional because these provisions violate the Electors Clause and
the Twelfth Amendment of the U.S. Constitution. U.S. CONST. mi. II,§ I, cl. 1 & Amend. XII.

The Complaint and this Motion address a matter of urgent national concern, that involves only

issues oflaw-namely, a determination that Section 5 and 15 of the Electoral Count Act violate

the Electors Clause and the Twelfth Amendment of the U.S. Constitution-where the relevant facts

concerning the Plaintiffs' standing, the justiciability of Plaintiffs' claims by this Court, and this

Court's ability to grant the relief requested are not in dispute

        The requested declaratory judgment will terminate the controversy arising from the

conflict between the Twelfth Amendment and the Electoral Count Act. It is appropriate for this

Court to grant this relief in a summary proceeding without an evidentimy hearing or discove1y.

See FED. R. CIV. P. 57, Advisory Committee Notes. For this reason, Plaintiffs have requested an

expedited summmy proceeding under Rule 57 of the Federal Rules of Civil Procedure to grant the

relief requested herein no later than Thursday, December 31, 2020, and for emergency injunctive

relief under FED. R. CIV. P. 65 consistent with the declaratory judgment requested herein on that

same date.

       Plaintiffs have requested an opportunity for timely oral argument on Plaintiffs Motion. A

joint session of Congress will convene on Wednesday, Janumy 6, 2021 at 1:00 p.m. Eastern Time

for purposes of voting on selection of the President of the United States. As Vice President of the

United States and President of the Senate, Defendant Michael R. Pence will preside over the

proceedings. Accordingly, a ruling of this Court is required by Monday, Janumy 4, 2021 in order

for Plaintiffs to obtain a timely ruling on the relief they have sought, and for any party challenging

the Comi's ruling to have a meaningful opportunity for appellate review of the Court's decision.




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                          Efforts to Resolve Issues Without Litigation

        Prior to filing of this lawsuit, Plaintiffs' counsel presented a written statement of the

specific relief requested and summary of Plaintiffs legal arguments by e-mail to the Office of the

Counsel for the Vice President. Prior to moving for emergency relief, Plaintiffs' counsel conferred

via telephone with the Counsel to the Vice President and provided an as-filed copy of the

Complaint and an unsigned final copy of Plaintiffs Motion via email. In the teleconference,

Plaintiffs' counsel made a meaningful attempt to resolve the underlying legal issues by agreement,

including advising the Vice President's counsel that Plaintiffs intended to seek immediate

injunctive relief in the event the parties did not agree. Those discussions were not successful in

reaching an agreement and this lawsuit was filed. Counsel for the Vice President was promptly

furnished a copy of the Complaint and Plaintiffs Motion.

        In an effort to expedite matters, Plaintiffs' counsel sought an agreement with Defendant's

counsel to effect service by agreement upon electronic transmission means (e-mail) or a waiver.

This effort was unsuccessful and Plaintiffs' counsel promptly sought issuance of a Summons and

initiated efforts to have formal service effected promptly. In the meantime, Plaintiffs' counsel

delivered copies of the Complaint and Plaintiffs Motion to Counsel for the Vice President and the

United States District Attorney for the Eastern District of Texas by email.

        On the morning of Tuesday, December 29, 2020, the United States District Attorney for

the Eastern District of Texas was formally served with a Summons and copy of Plaintiffs Motion.

See ECF #5. Contemporaneously, Plaintiffs counsel were contacted by Mr. Christopher Healy

from the Civil Division of the United States Department of Justice in Washington, D.C. and a

conference call of the parties' counsel was scheduled for late morning of Tuesday, December 29,

2020.   Undersigned counsel was informed that Mr. Healy and other representatives of the




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Government who may represent Defendant have received copies of the Complaint and Plaintiffs

Motion.

            Attempts to Reach Agt·eement on Scheduling of Briefing and Hearing

       A conference of counsel for the parties was attended by three of Plaintiffs' counsel and five

attorneys from governmental departments representing Defendant Pence. In that conference, the

patiies' counsel discussed scheduling of Defendants' response to Plaintiffs Motion, Plaintiffs

Reply, and hearing on the merits of the motion before the Co mi. Defendants' counsel requested

additional time to confer with their client and agreed upon reconvening at 1 :30 p.m. of the same

day to have fmiher discussion.

       A second conference of the parties' counsel did not take place. Instead, Plaintiffs counsel

received an e-mail from Mr. Healy seeking a delay. A true copy of the email exchange between

counsel, labeled as "Exhibit I", is attached.

                                         Requested Relief

       Plaintiffs request that the Court enter an order requiring that Defendant file any response

to Plaintiffs' Motion by the Court's close of business hours (5:00 p.m. Central) on Wednesday,

December 30, 2020, and that Plaintiffs file their reply by 9:00 a.m. the following moming.

Plaintiffs further request an in-person hearing before the Court on the aftemoon of Thursday,

December 31, 2020.

                                                 Conclusion

       Therefore, Plaintiffs respectfully request that the Comi grant the relief sought in this

motion and set a scheduling of briefing and argument of Plaintiffs Motion as requested.




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Dated: December 29, 2020                        Respectfully submitted,


                                                Is/William L. Sessions
Howard Kleinhendler                             William Lewis Sessions
Howard Kleinhendler Esquire                     Texas Bar No. 18041500
NY Bar No. 2657120                              Sessions & Associates, PLLC
369 Lexington Ave., 12th Floor                  14591 Nmih Dallas Parkway, Suite 400
New York, New York 10017                        Dallas, TX 75254
Tel: (917) 793-1188                             Tel: (214) 217-8855
Fax: (732) 901-0832                             Fax: (214) 723-5346 (fax)
Email: howard@kleinhendler.com                  Email: lsessions@sessionslaw.net


Lawrence J. Joseph                              Julia Z. Haller
DC Bar No. 464777                               DC Bar No. 466921
Law Office of Lawrence J. Joseph                Brandon Johnson
1250 Cmmecticut Ave, NW, Suite 700-1A           DC Bar No. 491370
Washington, DC 20036                            Defending the Republic
Tel: (202) 355-9452                             601 Pennsylvania Ave., NW
Fax: 202) 318-2254                              Suite 900
Email: ljoseph@lanyjoseph.com                   South Building
                                                Washington, DC 20004
                                                Tel: (561) 888-3166
                                                Fax:
                                                Email: halletjulia@outlook.com
                                                Email: brandoncjohnson6@aol.com

                                                COUNSEL FOR PLAINTIFFS




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                                CERTIFICATE OF CONFERENCE

        I hereby certify that as counsel for Plaintiffs, I have complied with the meet and confer

requirement in Local Rule CV -7(h) in the following respects: I have personally contacted and

spoken with Mr. Christopher Healy from the Civil Division of the United States Department of

Justice in Washington, D.C. and other Govenunent counsel whom I understand will be

representing the Defendant. The contents of the foregoing Motion and the Defendant's position on

same were discussed in a meaningful mmmer. Defendant's counsel have indicated they could not

make any conunitments to scheduling of briefing and a hearing on PlaintitT's Motion. Defendant' s

counsel insisted upon formal service of the Vice President and Attorney General of the United

States. The parties' counsel could not agree on the merits of the motion or upon times for

scheduling of a response from Defendant, or hearing on the merits, of Plaintiffs Motion.

Undersigned counsel has concluded that the parties are presently at an impasse, leaving an open

issue for the Comi to resolve. Undersigned counsel will inunediately advise the Comi of any

change in the parties' positions.

Dated: December 29, 2020
                                                     William Lewis Sessions
                                                     Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        I hereby certif)r that on the date specified below, I electronically filed the foregoing motion

 (together with its accompanying proposed order) with the Clerk of the Court using the CMIECF

 system. In addition, because counsel for the defendant has not yet filed an appearance, I served on

 the following person at the indicated addresses, with a courtesy copy via facsimile and/or email to

 the addresses specified:

  Gregory F. Jacob                                  Stephen J. Cox
  Counsel to the Vice President                     United States Attorney
  Office of the Vice President                      350 Magnolia Ave., Suite 150
  Eisenhower Executive Office Building              Beaumont, Texas 77701
  Washington, DC 20501                              Fax: (409) 839-2550
  E-mail: gregory .f.jacob@ovp.eop.gov              E-mail: stephen.j.cox@usdoj.gov


  Cluistopher Healy
  U.S. Department of Justice, Civil Division,
  Federal Programs Branch
  1100 L St. NW I Washington, DC 20005
  Tel (202) 514-80951 fax (202) 616-8470
  E-mail: Clu·istopher. Heal y@usdoj. gov




Dated: December 29, 2020                         ~~~
                                                   William Lewis Sessions
                                                   Counsel for Plaint([fs
From:             Healy. Christopher CCIV)
To:               Lewis Sessions: Senanayake. Tanya CCIV)
Cc:               Howard Klelnhendlec Larrv Joseph
Subject:          RE: Activity In Case 6:20·cv·00660·JDK Gohmert et al v. Pence Notice of Attorney Appearance- Pro Hac Vice
Date:             Tuesday, December 29, 2020 1:38:40 PM


Lewis, we are still conferring with our client, and at this point have nothing to report. We hope to
have an update for you today, and we're happy to set another call (say 5:00 east ern tim e) and will
try to have a confirmed position for you by then.


--Christopher


From : Lewis Sessions <lsessions@sessionslaw.net>
Sent: Tuesday, December 29, 2020 2:36 PM
To: Healy, Christopher {CIV) <Christopher.Healy@usdoj.gov>; Senanayake, Tanya {CIV)
<Tanya.Senanayake@usdoj.gov>
Cc: Howard Kleinhendler <howard@kleinhendler.com>; Larry Joseph <ljoseph@larryjoseph.com>
Subject: RE: Activity in Case 6:20-cv-00660-JDK Gohmert et al v. Pence Notice of Attorney
Appearance- Pro Hac Vice


Christopher and Tanya,

We are on the conference call waiting for you. Call in: (888) 808-6929, Access Code
9728812#. I sent an Outlook calendar entry to you earlier.

Lewis Sessions
Attorney at law
Board Certified - Civil Trial Law
Texas Board of Legal Specialization

SESSIONS    &   AssOCIATES, PLLC
14951 North Dallas Parkway, Suite 400
Dallas, Texas 75254
Direct Tel: (214) 217-8855
General Tel: (214) 445-4055
Direct Fax: (214) 723-5346
Email: lsessions@sessionsJaw,net


From: Lewis Sessions
Sent: Tuesday, December 29, 2020 1:04 PM
To: Chrjstopher.H ealy@usdoi.goy; Senanayake, Tanya {CIV <Tanya.Senanayake@usdoLgoy>
Cc: Howard Kleinhendler <howard@kleinhendler.com>; Larry Joseph <ljoseph@larryjosepb ,com>
Subject: FW: Activity in Case 6:20-cv-00660-JDK Gohmert et al v. Pence Notice of Attorney
Appearance- Pro Hac Vice


Counsel,

Per our agreement, I am forwarding notice received from the Clerk of the Court.



                                                    EXHIBIT 1
Lewis Sessions
Attorney at Law
Boa rei Certified - Civil Trial Law
Texas Board of Legal Specialization


SESsioNs & AssociATES, PLLC
14951 North Dallas Parkway, Suite 400
Dallas, Texas 75254
Direct Tel: (214) 217-8855
General Tel: (214) 445-4055
Direct Fax: (214) 723-5346
Email: lsessjons@sessjonslaw.net


From: txedCM@txed.uscourts.goy <txedCM@txed.uscourts.goV>
Sent: Tuesday, December 29, 2020 1:00PM
To: txedcmcc@txed.uscourts.goy
Subject : Activity in Case 6:20-cv-00660-JDK Gohmert et al v. Pence Notice of Attorney Appearance-
Pro Hac Vice



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document is a transcript, the free copy and 30 page limit do not apply.

                                            U.S. District Court

                                      Eastern District of TEXAS [LIVE)

Notice of Electronic Filing

The following transaction was entered by Joseph, Lawrence on 12/29/2020 at 12:59 PM CST and
filed on 12/29/2020
Case Name:            Gohmert et al v. Pence
Case Number:          6:20-cy-00660-JOK
Filer:                Tyler Bowyer
                      Nancy Cottle
                      Louie Gohmert
                      Jake Hoffman
                      Anthony Kern
                      James R. Lamon
                      Robert Montgomery
